Case 17-62007-wlh   Doc 20   Filed 02/16/21 Entered 02/17/21 14:51:48            Desc Main
                             Document      Page 1 of 3


                                                            January 8, 2021



                                                               Filed in U.S. Bankruptcy Court
                                                                      Atlanta, Georgia
 United States Bankruptcy Court
 Room 1340                                                           FEB 1 6 2021
 75 Ted Turner Drive, SW                                           M. Regina Thomas, Clerk
 Atlanta, GA 30303                                           BY;
                                                                        Deputy Clerk




 Dear Sir,
 I am Oyieke S. Nelson with case#17-62007. I am writing this letter to your
 office concerning my discharge letter. I am appealing for consideration for
 my discharge letter to be issue to me because due to some financial problem
 and family issue that causes me not to complete the last financial
 management course. I lost my job and things became so hard on me that I
 couldn't reach rent payment and my mom got sick during that time. She
 needed Care and attention that I have to voluntarily leave to help save her
 life. This cause a serious set back for me financially and became too difficult
 for me at that time.
 Kindly, I am asking for the re-open of my case, and I completed the
 Financial Management Education program. Attached is my Certificate
 bankruptcy Financial Management. I am kindly asking for your
 consideration in order to receive my Discharge Letter. Thank for your
 understa mg and hope to hear from you soon.


  Sincerely,
  Oyieke S.Nelson
  oyieke@gmail.corn
  Cell#2405057326
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                                Document      Page 2 of 3


U. S. BANKRUPTCY COURT / NORTHERN DISTRICT OF GEORGIA / ATLANTA DIVISION

RECEIPT #01263994 (RS) OF 02/17/2021


ITEM     CODE   CASE            QUANTITY                     AMOUNT   BY

   1      7R    17-62007               1                   $ 260.00   Check/MO
                Judge - Wendy L. Hagenau
                Debtor - OYIEKE NELSON


TOTAL:                                                     $ 260.00


FROM: Oyieke Nelson
      Apt 6113
      287 East Crogan Street
      Lawrenceville, GA 30046




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